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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             SA CR 19-00145-DOC

 Defendant       Joseph Michael Dubravac                                     Social Security No. 1          6     9     5
       Dubravac, Joseph M.; Dubravac, Joseph; Dubravac
                                                                             (Last 4 digits)
 akas: III, Joseph; Dubravac, Trio

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH    DAY    YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         10       04     2021


 COUNSEL                                                                Joel Garson, Retained
                                                                             (Name of Counsel)

    PLEA              X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                 NOT
                                                                                                                CONTENDERE             GUILTY
                      There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
  FINDING
                      Possession of Child Pornography in violation of 18 U.S.C. §§ 2252A(a)(5)(B), (b)(2) as charged in Count 1 of the Indictment.

JUDGMENT              The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/             contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM                that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER               the custody of the Bureau of Prisons to be imprisoned for a term of: TWELVE (12) MONTHS




It is ordered that the defendant shall pay to the United States a special assessment of $100 pursuant to 18 U.S.C. §
3013(a)(2)(A), which is due immediately.

It is ordered that the defendant shall pay to the United States an additional special assessment of $5,000, pursuant to 18
U.S.C. § 3014(a)(3), which is due immediately, and the payment of which shall commence after the defendant has
satisfied the Court-ordered special assessment under section 3013.

It is ordered that the defendant shall pay restitution in the total amount of $66,000 pursuant to 18 U.S.C. § 2259. The
amount of restitution ordered shall be paid to the 22 victims as set forth in the Confidential Victim List.

Restitution shall be paid in full immediately. The Court finds from a consideration of the record that the defendant's
economic circumstances allow for a full and immediate payment of restitution.

It is ordered that the defendant shall pay to the United States a total fine of $25,000, which shall bear interest as
provided by law. The fine shall be paid immediately, and the payment of which shall commence after the defendant has
satisfied the Court-ordered assessments under sections 3013 and 3014.

The defendant shall comply with Second Amended General Order No. 20-04.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of Life under the
following terms and conditions:


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    1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services
       Office and Second Amended General Order No. 20-04., including the conditions of probation and supervised
       release set forth in Section III of Second Amended General Order No. 20-04.

    2. The defendant shall cooperate in the collection of a DNA sample from the defendant.

    3. During the period of community supervision, the defendant shall pay the special assessment, restitution and fine
       in accordance with this judgment's orders pertaining to such payment.

    4. Within three (3) days of release from prison, the defendant shall register as a sex offender, and keep the
       registration current, in each jurisdiction where he resides, where he is an employee, and where he is a student, to
       the extent the registration procedures have been established in each jurisdiction. When registering for the first
       time, the defendant shall also register in the jurisdiction in which the conviction occurred if different from his
       jurisdiction of residence. The defendant shall provide proof of registration to the Probation Officer within 48
       hours of registration.

    5. The defendant shall participate in a psychological counseling or psychiatric treatment or a sex offender
       treatment program, as approved and directed by the Probation Officer. The defendant shall abide by all rules,
       requirements, and conditions of such program, including submission to risk assessment, and physiological
       testing, such as polygraph and Abel testing.

    6. As directed by the Probation Officer, the defendant shall pay all or part of the costs of psychological counseling
       or psychiatric treatment, or a sex offender treatment program, or any combination thereof to the aftercare
       contractor during the period of community supervision. The defendant shall provide payment and proof of
       payment as directed by the Probation Officer. If the defendant has no ability to pay, no payment shall be
       required.

    7. The defendant shall participate in an evaluation by a trained professional, approved by the Probation Office, to
       assess the defendant's risk to the community as a sex offender. The evaluation may include physiological
       testing, such as polygraph and Abel testing. The Court authorizes the Probation Officer to disclose the
       Presentence Report, and any previous mental health evaluations or reports, to the evaluation provider. As
       directed by the Probation Officer, the defendant shall pay all or part of the costs of the sex offender risk
       evaluation to the aftercare contractor during the period of community supervision. The defendant shall provide
       payment and proof of payment as directed by the Probation Officer. If the defendant has no ability to pay, no
       payment shall be required.

    8. The defendant shall not view or possess any materials, including pictures, photographs, books, writings,
       drawings, videos, or video games depicting and/or describing child pornography, as defined at 18 U.S.C. §
       2256(8), or sexually explicit conduct, as defined at 18 U.S.C. § 2256(2). This condition does not prohibit the
       defendant from possessing materials solely because they are necessary to, and used for, a collateral attack, nor
       does it prohibit him from possessing materials prepared and used for the purposes of his Court-mandated sex
       offender treatment, when the defendant’s treatment provider or the Probation Officer has approved of his
       possession of the materials in advance.

    9. The defendant shall not visit, frequent or loiter within 100 feet of school yards, parks, public swimming pools,
       playgrounds, youth centers, video arcade facilities, or any other places primarily used by persons under the age
       of 18.

    10. The defendant shall not associate or have verbal, written, telephonic, or electronic communication with any

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         person under the age of 18, except: (a) in the presence of the parent or legal guardian of said minor; and (b) on
         the condition that the defendant notify said parent or legal guardian of his conviction in the instant offense. This
         provision does not encompass persons under the age of 18, such as waiters, cashiers, ticket vendors, and similar
         persons with whom the defendant must deal with in order to obtain ordinary and usual commercial services.

    11. The defendant's employment shall be approved by the Probation Officer, and any change in employment must
        be pre-approved by the Probation Officer. The defendant shall submit the name and address of the proposed
        employer to the Probation Officer at least 10 days prior to any scheduled change.

    12. The defendant shall not affiliate with, own, control, or be employed in any capacity by a business whose
        principal product is the production or selling of materials depicting or describing “sexually explicit conduct,” as
        defined at 18 U.S.C. §2256(2).

    13. The defendant shall possess and use only those computers and computer-related devices, screen user names,
        passwords, email accounts, and internet service providers (ISPs) that have been disclosed to the Probation
        Officer upon commencement of supervision. Any changes or additions are to be disclosed to the Probation
        Officer prior to the first use. Computers and computer-related devices include personal computers, personal data
        assistants (PDAs), internet appliances, electronic games, cellular telephones, and digital storage media, as well
        as their peripheral equipment, that can access, or can be modified to access, the internet, electronic bulletin
        boards, and other computers.

    14. All computers, computer-related devices, and their peripheral equipment, used by the defendant shall be subject
        to search and seizure. This shall not apply to items used at the employment’s site, which are maintained and
        monitored by the employer.

    15. The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The defendant
        shall pay the cost of the Computer Monitoring Program, in an amount not to exceed $32 per month per device
        connected to the internet.

    16. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
        judgments and any anticipated or unexpected financial gains to the outstanding Court-ordered financial
        obligation.

    17. The defendant shall submit his person and property to search and seizure at any time of the day or night by any
        law enforcement officer with or without a warrant and with or without reasonable or probable cause.

    18. The defendant shall report to the United States Probation & Pretrial Services Office within 72 hours of his
        release from custody.

    19. The defendant shall report in person directly to the Court within 21 days of his release from custody, at a date
        and time to be set by the United States Probation & Pretrial Services Office, and thereafter report in person to
        the Court as directed during his first year of supervised release.

    20. The defendant shall not possess, have under the defendant’s control, or have access to any firearm, explosive
        device, or other dangerous weapon, as defined by federal, state, or local law.

The drug testing condition mandated by statute is suspended based on the Court’s determination that the defendant
poses a low risk of future substance abuse.


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The Court authorizes the Probation Officer to disclose the Presentence Report, and/or any previous mental health
evaluations or reports, to the treatment provider. The treatment provider may provide information (excluding the
Presentence report), to State or local social service agencies (such as the State of California, Department of Social
Service), for the purpose of the client's rehabilitation.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons on or
before 12 noon, on January 7, 2022 as specified by the Court. In the absence of such designation, the defendant shall
report on or before the same date and time to the United States Marshal located at the United States Court House, 411
West Fourth Street, Santa Ana, California 92701.

The recommendation for self-surrender is contingent upon the Court having made the requisite findings pursuant to 18
U.S.C. § 3143(a), (release or detention pending sentence).

Defendant is advised of his right to appeal.

The Court grants the government’s motion to dismiss all remaining counts.

The Defendant’s bond is exonorated upon surrender.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




             October 4, 2021
            Date                                                  Hon. David O. Carter, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




             October 4, 2021                                By      Karlen Dubon
            Filed Date                                            Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;    9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a               any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                      by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                    family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the          review and has determined that the restriction is necessary for
       court or probation officer;                                                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without     10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;               not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation             other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment               substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;             11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation               being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before    12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change            ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                 13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her           enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                permission of the court;
       any contraband prohibited by law or the terms of supervision and         14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable              defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before          vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                 the most effective manner.
       change;




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      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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